    Case 2:24-cv-02535-DDC-BGS              Document 1        Filed 11/19/24     Page 1 of 24




                              UNITED STATES DISTRICT COURT
                                 FOR DISTRICT OF KANSAS

 CBW BANK, a Kansas State Chartered Bank,
           Plaintiff,
                                                          Case No.
                   v.

 The FEDERAL DEPOSIT INSURANCE
 CORPORATION; JENNIFER WHANG, in
 her official capacity as an ALJ of OFIA; and
 C. SCOTT MARAVILLA, in his official
 capacity as an ALJ of OFIA,
           Defendants.



              COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

       Plaintiff CBW Bank, a Kansas State Chartered Bank             CBW                  action for

declaratory and injunctive relief, alleging as follows:


                                        INTRODUCTION

      1.         This action stems from an unlawful attempt by the Federal Deposit Insurance

Corporation      FDIC             CBW to an administrative proceeding to impose civil monetary

penalties conducted by                                     ALJ   housed in the Office of Financial

                                    whose structures violate Article II, Article III, and the Seventh

Amendment of the Constitution of the United States.

      2.

is by seeking to impose civil monetary penalties with an ALJ sitting as the fact-finder and not a

jury in an Article III court as the Seventh Amendment requires.

      3.

for violations of applicable laws and regulations. 12 U.S.C. § 1818(i)(2). On November 19, 2024,
    Case 2:24-cv-02535-DDC-BGS                  Document 1      Filed 11/19/24     Page 2 of 24




the FDIC initiated an administrative proceeding to levy CMPs against CBW based on alleged

                                          -

      4.          The FDIC proceedings against CBW violate the Seventh Amendment, which

                                                                   U.S. CONST. amend. VII.

      5.           The right to trial by jury is of such importance and occupies so firm a place in our

history and jurisprudence that any seeming curtailment of the right has always been and should

be scrutinized with the utmost care.          SEC v. Jarkesy, 144 S. Ct. 2117, 2128 (2024) (quoting

Dimick v. Schiedt, 293 U.S. 474, 486 (1935)).

      6.           The Seventh Amendment right is centered on the

fact-finding body      Dimick, 293 U.S. at 486.

      7.           The Seventh Amendment extends to a particular statutory claim if the claim is

legal in nature.      Jarkesy, 144 S. Ct. at 2128 (quoting Granfinanciera, S.A. v. Nordberg, 492 U.S.

33, 53 (1989)).

      8.            [C]ivil penalties are a type of remedy at common law that could only be enforced

                      Jarkesy, 144 S. Ct. at 2129 (quoting Tull v. United States, 481 U.S. 412, 422

(1987)) (cleaned up). The remedy of civil monetary penalties is dispositive here. Id.

      9.          The cause of action is also legal in nature. Historically, actions to recover civil

                        ha[ve] been viewed as a                                                     Id.

(quoting Tull, 481 U.S. at 418-19).

      10.         N                           conjure away the Seventh Amendment by mandating that

traditional legal claims                        an administrative tribunal    Granfinanciera, S.A. v.

Nordberg, 492 U.S. 33, 52 (1989).




                                                     2
     Case 2:24-cv-02535-DDC-BGS             Document 1       Filed 11/19/24     Page 3 of 24




                                                                                                    ,

584 U.S. 325, 334 (2018) (quoting Stern v. Marshall, 564 U.S. 462, 484 (2011)).

      11.

is by subjecting the Bank to an administrative proceeding presided over by an executive officer

unconstitutionally insulated from presidential control.

      12.       Article II vests all executive power

                                 Seila L. LLC v. CFPB, 140 S. Ct. 2183, 2191 (2020).

      13.       To discharge that responsibility, the President must have the power to remove

                                                                      Free Enter. Fund v. PCAOB,

561 U.S. 477, 513 14 (2010).

      14.       This removal power extends to ALJs who

functions. Jarkesy v. SEC, 34 F.4th 446, 463 (5th Cir. 2022),                           , 144 S. Ct.

2117 (2024)

but they are exercises of    indeed, under our constitutional structure they must be exercises of

                                                                            United States v. Arthex,

Inc., 594 U.S. 1, 17 (2021) (quoting Arlington v. FCC, 569 U.S. 290, 305, n.4 (2013)) (emphasis

in original).

      15.

of                 functions, and, by implication,

Jarkesy, 34 F.4th at 463. This constitutionally required degree of control is lacking when the ALJs

are insulated by                     -                    that is, when the ALJs are removable only

for cause, by officials who themselves are removable only for cause. Id.; see Free Enter. Fund,

561 U.S. at 492 508.




                                                     3
       Case 2:24-cv-02535-DDC-BGS               Document 1        Filed 11/19/24       Page 4 of 24




         16.      The same reasoning applies to the ALJs used by the FDIC. FDIC ALJs qualify as

                        See Burgess v. FDIC, 871 F.3d 297, 303 (5th Cir. 2017). Their positions are



                             Id. at 302 (cleaned up) (quoting Freytag v. Commissioner, 501 U.S. 868,

881-82 (1991)).

         17.      The FDIC ALJs are covered by two layers of removal protection, which

unconstitutionally insulate them from oversight by the President. The ALJs can only be removed

for                                                                                           See 5 U.S.C.

                                                                                      5 U.S.C. § 1202(d)

(subject to removal only for                                                                 ).

         18.      Moreover, the majority of FDIC Board (three of five) have removal protection via

fixed-terms and may only be removed by the President for cause. See Wiener v. United States,

357 U.S. 349, 352, 356 (1958) (equating fixed-length terms with for-cause removal protection);

Free Enter. Fund, 561 U.S. at 487 (same). The other two members are ex officio members                     the

head of the CFPB and OCC           who can be removed at will.

         19.      The FDIC participates in an ALJ-sharing arrangement whereby not just the FDIC

Board but three other agencies         Office of Comptroller of Currency                 , National Credit

Union Administration                  , and Federal Reserve Board              (collectively the Banking

Agencies          have entered into a memorandum agreement create an entity called the Office of



by the Banking Agencies.1



1
    About Us, Off. of Fin. Institution Adjudication, https://www.ofia.gov/who-we-are/about-us.html (last
                                            .



                                                      4
          Case 2:24-cv-02535-DDC-BGS          Document 1        Filed 11/19/24       Page 5 of 24




           20.    There are currently two ALJs housed in the OFIA division.              preside[] over

administrative enforcement proceedings brought by               issue[] recommended decisions to the

relevant agency head. 2

           21.    Under the memorandum agreement, any change to OFIA personnel, including

specifically the ALJs, must be approved by all four Banking Agencies. This means that before an

ALJ can be

members of each Banking Agency must agree. FDIC has five members, OCC has one member

(the Comptroller), NCUA has three members, and FRB has seven members.

           22.    As discussed above, a majority of the FDIC members have removal protection. The

NCUA members and FRB members all are tenure-protected and therefore can only be removed

for cause. See 12 U.S.C. § 242 (FRB); id. § 1752a(c) (NCUA).

           23.    Two of the three members of the MSPB would then need to agree there was cause

for an           removal.

           24.    Thus, at least 11 different people 3 would need to agree that it is appropriate to

terminate an ALJ before that ALJ could be removed from office. Of those, at least one FDIC

member with removal protection, two NCUA members, and four FRB members with removal

protection would have to vote in favor, as would two MSPB members with removal protection.

           25.    The existence of unconstitutional removal protections inflicts twofold harm. It

                                                               But it also produces an administrative




2
    Id.
3
  Because the OCC Comptroller also is an ex officio member of the FDIC, this means that although it would
take 3 FDIC votes, 1 OCC vote, 2 NCUA votes, and 4 FRB votes, plus 2 MSP votes. Because the OCC
Comptroller can vote twice given the dual capacity as of head of the OCC and an ex officio FDIC member
these 12 votes could technically be accomplished by 11 people.


                                                   5
    Case 2:24-cv-02535-DDC-BGS             Document 1        Filed 11/19/24     Page 6 of 24




                          Collins v. Yellen, 141 S. Ct. 1761, 1784 (2021). This is especially true

here where the OFIA ALJs used by the FDIC are insulated from the President by at least two layers

of officials, who also have for-cause removal protection, spread across three different Banking

Agencies and the MSPB (plus a vote from the OCC Comptroller).

      26.      Because such removal protections affect not just the President, but also ordinary

Americans who must interact with the administrative state, it makes no legal difference whether



                                                                                              -upon

                                       Free Enter. Fund, 561 U.S. at 497 (citations omitted).

      27.      When a party is regulated by administrative officials who are shielded by

unconstitutional removal protections, Supreme Court precedent teaches that the

to declaratory relief sufficient to ensure that the [administrative] standards to which they are

                                                                                         Id. at 513.

      28.      To prevent CBW from undergoing protracted unconstitutional administrative

proceedings   after which CBW is unlikely to have a chance to secure meaningful retrospective

relief the Court should stay or enjoin the current agency proceedings, declare that the FDIC

structure violates the Constitution, and permanently enjoin the FDIC from pursuing statutory

penalties against CBW in unconstitutionally structured proceedings.

      29.      For these reasons CBW is entitled to declaratory and injunctive relief to ensure that

it is not subjected to unconstitutional proceedings before an unconstitutionally structured agency.


                                JURISDICTION AND VENUE

      30.      This action arises under the Constitution and laws of the United States. This Court

has federal question jurisdiction under 28 U.S.C. § 1331 over the CBW



                                                 6
    Case 2:24-cv-02535-DDC-BGS              Document 1        Filed 11/19/24    Page 7 of 24




aspects of the FDIC                       the Constitution and are wholly collateral to the agency

proceedings. See, e.g., Axon Enter., Inc. v. FTC, 143 S. Ct. 890, 900 (2023).

      31.       The Court has authority to grant declaratory and injunctive relief under the

Declaratory Judgment Act, 28 U.S.C. §§ 2201 2202, under the Administrative Procedure Act,

5 U.S.C. §§ 701 706, and under                inherent equitable powers.

      32.       Venue is proper in this district under 28 U.S.C. § 1391(e)(1). Defendants are

officers of an agency of the United States acting in their official capacity. CBW maintains its

principal place of business in Weir, Kansas, where it is headquartered. A substantial part of the

events or omissions giving rise to the claims also occurred in this district.


                                             PARTIES

      33.       Plaintiff CBW, formerly known as Citizens Bank of Weir, is a single-branch,

Kansas state-chartered bank headquartered in Weir, Kansas.

      34.      Defendant FDIC is an administrative agency of the United States, headquartered in

Washington, D.C.

      35.      Defendant Jennifer Whang is an OFIA Administrative Law Judge. She is sued in

her official capacity.

      36.      Defendant C. Scott Maravella is an OFIA Administrative Law Judge. He is sued in

his official capacity.

      37.      Either ALJ Whang or ALJ Maravilla will be assigned the administration

adjudication in the challenged agency proceedings.




                                                  7
       Case 2:24-cv-02535-DDC-BGS           Document 1            Filed 11/19/24   Page 8 of 24




                                               FACTS

                                            CBW Bank

          38.    CBW was acquired by CB Bancshares Corp, a bank holding company set up

Suchitra Padmanabhan and her husband, Suresh Ramamurthi, during the 2008 global financial

crisis.

                           The Federal Deposit Insurance Corporation

                                                      Structure

          39.    The FDIC was created by the Banking Act of 1933. See Pub. L. No. 73-66

§ 12B(a), 48 Stat. 162, 168 (June 16, 1933).

          40.    The Board of Directors for the FDIC consists of five members.            12 U.S.C.

§ 1812(a)(1).

          41.    Three of those members are appointed by the President to fixed, six-year terms. Id.

§ 1812(c)(1). The three appointed members of the FDIC are tenure-protected and may only be

removed by the President for cause. See Wiener, 357 U.S. at 352, 356; Free Enter. Fund, 561 U.S.

at 487 (same).

          42.    The remaining two FDIC directors are ex officio members of the Board. They are

the Director of the CFPB and the Comptroller of the Currency. See 12 U.S.C. § 1812(a)(1)(B)-

(C).

          43.    The CFPB was created by the Dodd-Frank Wall Street Reform and Consumer

                                 -                                     -Frank provided that the CFPB



                                                                                                   -

203, tit. X, § 1101(c), 124 Stat. 1376, 1964 (July 21, 2010) (codified at 12 U.S.C. § 5491). Seila

Law held in 2020 that the                                 e[d] the separation of powers because the


                                                  8
    Case 2:24-cv-02535-DDC-BGS                 Document 1        Filed 11/19/24      Page 9 of 24




CFPB Director did not serve at the pleasure of the President. 140 S. Ct. at 2192, 2209. After Seila

Law the President has had the power to fire the CFPB Director at will.

      44.         The President may remove the OCC Comptroller at will. See 12 U.S.C. § 2.

      45.         As the law currently stands, the President cannot remove a majority of the FDIC

Board at will

                                                 Enforcement Power

      46.         FDIC is authorized by Congress to investigate banks and bankers and to enforce a

variety of federal banking laws and regulations. The Federal Deposit Insurance Act of 1950, as

amended (the             authorizes the FDIC

target, 12 U.S.C. §                                 -and-                 id. § 1818(b)-(c); to conduct

hearings, id. §

id. § 1818(b)(6).

      47.         FDIC is empowered with significant enforcement power under the Act.

      48.                                                                        Act to levy significant

civil monetary penalties for violations of applicable laws and regulations, id. § 1818(i)(2).

      49.         FDIC is empowered to

target. See id. § 1818(i).

      50.         Three tiers of civil monetary penalties are set forth in Section 8(i).

      51.                               ,                                   a civil penalty of not more

than $5,000 for each day                                                    that violates any law or

regulation                                                                                 condition[s]

imposed in writing by a Federal banking agency              written agreement between such depository

institution and such agency       Id. § 1818(i)(2)(A).




                                                     9
    Case 2:24-cv-02535-DDC-BGS               Document 1       Filed 11/19/24      Page 10 of 24




        52.                              ,                       to order a civil penalty of not more

than $25,000 for each                                                      when certain aggravating

factors are present. Id. § 1818(i)(2)(B). When a regulated financial institution violates Section

                cklessly engages in an unsafe or unsound practice in conducting the affairs of such

insured depository institution        breach[es] any fiduciary duty,




                         Id.

        53.                    Tier allows the imposition of the statutory maximum civil penalty

                                                                                                    id.

§                          knowingly or recklessly causes a substantial loss to such depository

institution or a substantial pecuniary gain or other benefit to such party by reason of such violation,

practice, or breach     id. § 1818(i)(2)(C)(ii). The maximum penalty amount for purposes of

subsection (C)                                                                                       ..

.                                                                              id. § 1818(i)(2)(D)(ii),



                       id. § 1818(i)(2)(D)(i).     penalty imposed under subparagraph (A), (B), or

(C) may be assessed and collected by the appropriate Federal banking agency by written notic

                                             the assessment shall constitute a final and unappealable

order     Id. § 1818(i)(2)(E).

        54.                                             against whom any penalty is assessed under

                            shall be afforded an agency hearing if such institution or person submits




                                                  10
   Case 2:24-cv-02535-DDC-BGS               Document 1      Filed 11/19/24     Page 11 of 24




a request for such hearing within 20 days after the issuance of the notice of assessment.       Id.

§ 1818(i)(2)(H).

      55.      Upon the initiation of enforcement proceedings to collect a civil monetary penalty

when a hearing is requested

See 12 C.F.R. § 308.35; see id. § 308.5(a) (FDIC administrative proceedings must



Act, 5 U.S.C §§ 500-596).

      56.



                                        12 C.F.R. §§ 308(b)(8), 308.38. Parties may then file

                                                                                                Id.

§ 308.39.                                        to the ALJ s recommended decision, findings,

conclusions, or proposed order, to the admission or exclusion of evidence, or to the failure of the

ALJ to make a ruling proposed by a party. Id. The Administrative Officer then refers the matter

                                                       Id. § 308.40(a). Thei          will be based

upon review of the entire record of the proceedi

arguments and exceptions raised. Id. § 308.40(c)(1).

      57.



                      Id. § 308.40(c)(2).

                       The Office of Financial Institution Adjudication

      58.

                                                           Id. § 308.103(a).




                                                11
      Case 2:24-cv-02535-DDC-BGS          Document 1        Filed 11/19/24     Page 12 of 24




       59.                                       -                       with three other Banking

Agencies.

       60.      Section 916 of the Financial Institutions Reform, Recovery, and Enforcement Act

of 198                          a specified group of                                               ...



                                                               Pub. L. No. 101-73 § 93, 103 Stat.

183, 486 (Aug. 9, 1989) (codified at 12 U.S.C. § 1818 note (1992)).

       61.      After FIRREA was passed, FDIC, OCC, FRB, and NCUA developed, through

rulemakings, a common set of procedures governing the procedures to be used in administrative

hearings. See generally Uniform Rules of Practice and Procedure, Final Rule, 56 Fed. Reg. 37,968

(FDIC Aug. 9, 1991).

       62.      The Banking Agencies also executed a memorandum of understanding in 1991

the

of which is attached hereto as Exhibit A. 4 Through the 1991 OFIA Agreement, the Banking



                                       1(e). The 1991 OFIA Agreement further provides that the



             Id. at 2 ¶ 2(a).

       63.



hereto as Exhibit B. The 2011 OFIA Agreement provided that the FDIC, in its capacity as the



4
  This document, as with the 2011 and 2018 OFIA agreements, were obtained via a Freedom of
Information Act Request in Burgess v. FDIC, 639 F.Supp.3d 732 (N.D. Tex. 2022). The FDIC did not
contest their authenticity in that matter.


                                                12
   Case 2:24-cv-02535-DDC-BGS              Document 1       Filed 11/19/24        Page 13 of 24




                                                     specifically including the OFIA ALJs

                                                                       Ex. B at 3 ¶ 3; see id. at 8.

      64.



Exhibit C. The 2018 OFIA Agreement renewed the 2011 OFIA Agreement, the latter of which

was set to expire at the end of 2017. See



to the prior written approval of all [B                    Id. at 3 ¶ 2; see id. at 7.

      65.                                        -

                            OFIA Website, supra note 1; see 56 Fed. Reg. at 37,977 (now codified

at 12 C.F.R. §

                                 executive body charged with overseeing the administration and



                                                                                   Banking Agencies,

                                                                                         supra.



                                    i.e., the 2018 OFIA Agreement

oversight by an interagency committee and cost-                                                   Id.

      66.      There are currently two ALJs within OFIA: ALJ Whang and ALJ Maravilla.

      67.

                                               12 C.F.R. § 308.5(a). The ALJs used by the FDIC

have authority to issue subpoenas, rule on the admissibility of evidence, regulate hearings, rule on




                                                13
   Case 2:24-cv-02535-DDC-BGS              Document 1         Filed 11/19/24    Page 14 of 24




to discharge the duties of an ALJ    Id. §§ 308.5(b)(2), (3), (5), (7), (11).

      68.      Despite the significant executive authority that the ALJs used by the FDIC wield,

they enjoy an extraordinary level of protection from removal. In order to remove an OFIA ALJ,

the following must occur: first, all four of the Banking Agencies would need to unanimously

concur, in writing, to the initiation of removal proceedings. Assuming the Banking Agencies are

fully staffed, initiating a removal proceeding would require separate sign-offs from at least nine

different officers    the Comptroller, three of the five members of the FDIC Board (one of whom

could be the Comptroller), four of the seven members of the FRB, and two of the three members

of NCUA. Even then, the ALJ could not be fired unless at least two of the three members of the

MSPB also found that there was cause to do so. See 5 U.S.C. § 7521(a) (ALJs can be removed



      69.      All of the directors of the FRB and NCUA are tenure-protected and may only be

removed for cause. See 12 U.S.C. § 242 (FRB); id. § 1752a(c) (NCUA).

      70.      Similarly, the members of the MSPB can only be removed by the President for

                                                                                ; see Long v. Social

Security Admin., 635 F.3d 526, 534-35 (Fed. Cir. 2011).



      71.      On November 19, 2024, the FDIC filed a notice of charges assessing a Civil Money

Penalty              against CBW for years-old                                     long-abandoned

correspondent banking and money services businesses.

      72.      Prior to the proposed assessment and as part of its routine supervisory authority,

                                                              Banking Secrecy Act and anti-money




                                                 14
   Case 2:24-cv-02535-DDC-BGS               Document 1       Filed 11/19/24     Page 15 of 24




laundering compliance program. During this routine oversight, there was no evidence to suggest

the Bank or any Bank employee engaged in any deliberate misconduct, or recklessly or willfully

disregarded any AML risk. The Bank has always operated in good faith, taking swift action to

                              , including shuttering the correspondent banking and money service

businesses in 2020.

      73.     However, the FDIC continues to pursue a penalty assessment against the Bank in

connection with supervisory visits in 2019.

      74.     The penalty sought by the FDIC, is unreasonable and unprecedented for a bank of

this size, complexity, and supervisory history. There is no justifiable basis for any CMP, let alone

for one of this magnitude given the conduct at issue in this case.

      75.     On November 18, 2022, CBW received a 15-

consideration of potential civil monetary penalties.

      76.     The parties engaged in good faith settlement negotiations after CBW responded to

the 15-day notice.

      77.                                           November 18, 2024, that the FDIC planned to

issue a notice assessing civil monetary penalties under Section 8(i)(2)(H) the following day. At

                                                             unless CBW agreed to a stipulation the

FDIC proposed, the FDIC would initiate proceedings to impose the CMPs. CBW did not accept

the settlement and, on November 19, 2024, the FDIC served CBW with its notice of charges.

      78.     CBW intends to request a hearing under Section 8(i)(2)(H) within the time

proscribed by statute.

      79.     That hearing will occur before one of the two OFIA ALJs, both of whom are named

as Defendants in their official capacities in this matter.




                                                  15
   Case 2:24-cv-02535-DDC-BGS                Document 1     Filed 11/19/24      Page 16 of 24




      80.      As part of its preparation to bring the charges, the FDIC collected voluminous

documents from CBW. Certain of those documents contain information protected by, among other

protections, attorney-client privilege. Nevertheless, despite repeated requests from the Bank, the

FDIC refuses to return those documents or acknowledge the existence of attorney-client privilege

as against the FDIC. Based on information and belief, the FDIC therefore has not screened

attorneys who reviewed privileged information from participation in the administrative proceeding

or otherwise ceased using the privileged information obtained from CBW.


         COUNT I             ADJUDICATION OF LEGAL CLAIMS
     WITHOUT A JURY TRIAL VIOLATES THE SEVENTH AMENDMENT AND
                             ARTICLE III

      81.      CBW restates and incorporates by reference each and every allegation of the

preceding paragraphs, as if fully set forth herein.

      82.                                                                                          n

Suits at common law, where the value in controversy shall exceed twenty dollars, the right of trial

by jury shall be preserved, and no fact tried by a jury, shall be otherwise re-examined in any Court

of the United States, than according to the rules of the common law          CONST. amend. VII.

      83.                                                           aintenance of the jury as a fact-

finding body       Dimick, 293 U.S. at 486                       to have a jury properly determine

the question of liability and the extent of the injury by an assessment of damages. Both are

questions of fact. Id.

      84.       The Seventh Amendment extends to a particular statutory claim if the claim is

legal in nature.     Jarkesy, 144 S. Ct. at 2128 (quoting Granfinanciera, 492 U.S. at 53).

      85.       To determine whether a suit is legal in nature             to consider the cause of

action and the remedy it provides     Id. at 2129.



                                                 16
   Case 2:24-cv-02535-DDC-BGS               Document 1       Filed 11/19/24       Page 17 of 24




      86.     The FDIC is seeking statutory civil monetary penalties here pursuant to 12 U.S.C.

1818(i)(2) through the proceedings against CBW.

      87.     Here, t     the remedy is all but dispositive. Id. A monetary remedy is legal is if

it is designed to punish or deter the wrongdoer           a civil sanction that cannot fairly be said

solely to serve a remedial purpose is punitive and therefore a legal remedy. Id.; see also Tull,

                                                                                     only be enforced

in courts of law. Remedies intended to punish culpable individuals . . . were issued by courts of

                                Civil monetary penalties are remedies requiring a jury under the

Seventh Amendment. Id. at 2129.

      88.     Further, the cause of action is legal in nature:

recover civil penalties under statutory provisions . . . historically ha[ve] been viewed as a type of

                                        Id. (quoting Tull, 481 U.S. at 418-19). After passage of the



                                                                               Id.

      89.     On information and belief, the FDIC is seeking to impose the CMP under

                                              recklessly engag[ing] in an unsafe or unsound practice

in conducting the affairs of such insured depository institution      breach[ of] any fiduciary duty

      90.                                                          common law soil

nature requiring a jury. Id. at 2137.

      91.     The fact that FDIC proceedings are administrative in nature does not allow the FDIC

to withdraw these claims from the protections of an Article III court and a jury.




                                                 17
      Case 2:24-cv-02535-DDC-BGS           Document 1        Filed 11/19/24       Page 18 of 24




Granfinanciera, 492 U.S. at 61.

       92.    These claims are not ones that

                                             Jarkesy, 144 S. Ct. at 2132 (quoting Stern v. Marshall,

564 U.S. at 484). Nor does this scenario fall within the litany of circumstances that fall within the

so-

an Article III jury. See id. at 2131-34.

       93.

adjudicated by an administrator instead of a jury in an Article III court. These claims are wholly

collateral to any agency proceeding and are not based on any particular finding or decision the

ALJ might make as fact-finder.

                                                  Axon, 598 U.S. at 191

Amendment] rights not to undergo the complained-

                                                                                      Id. at 192.

       94.    These rights attach regardless of whether there is in fact a finding of liability against

CBW, because CBW has in all circumstances a right to have the jury sit as the fact-finding body

under the Seventh Amendment in the first instance. See Ward v. Village of Monroeville, 409 U.S.

57, 61-62 (1972). Because CBW



                       Burgess, 639 F. Supp. 3d at 749.

       95.     Here simply being made to participate in the unconstitutional hearing causes CBW

irreparable harm.




                                                 18
   Case 2:24-cv-02535-DDC-BGS               Document 1        Filed 11/19/24    Page 19 of 24




      96.      Moreover, through the unconstitutional proceedings, FDIC seeks to impose civil

monetary penalties in an amount it is aware will

and harm its reputation.

      97.     CBW bears a strong likelihood of success on this claim for the reasons detailed

above.

      98.     Yet unless the FDIC is enjoined from proceeding against CBW before an OFIA ALJ

rather than in an Article III court and with a jury, CBW will be irreparably harmed.

      99.     Deprivation of an individual constitutional right, as the Seventh Amendment is, is

an irreparable injury   even for minimal amounts of time. Elrod v. Burns, 427 U.S. 347, 373

(1976).

      100.    The harm to CBW, in the event declaratory and injunctive relief is not granted, far

outweighs any harm, or mere inconvenience, to the FDIC if such relief is granted.

      101.    The grant of injunctive and declaratory relief on this claim will serve the public




                COUNT II        OFIA ALJS ARE UNCONSTITUTIONALLY
                                INSULATED FROM REMOVAL

      102.     CBW restates and incorporates by reference each and every allegation of the

preceding paragraphs, as if fully set forth herein.

      103.     OFIA

Appointments Clause        not mere employees      because among other things, they hold continuing

offices through which they preside over adversarial hearings, receive testimony, shape the

administrative record, and prepare proposed findings and opinions. 12 C.F.R. § 308.5; see Lucia

v. SEC, 138 S. Ct. 2044, 2053 55 (2018); Burgess, 871 F.3d at 303.




                                                   19
   Case 2:24-cv-02535-DDC-BGS               Document 1       Filed 11/19/24        Page 20 of 24




      104.     At the same time, the FDIC and the other Banking Agencies may attempt to remove

its ALJs

             on the record after opportunity for hearing before the [MSPB]        5 U.S.C. § 7521(a).

In turn, by statute, Members of the MSPB                                 inefficiency, neglect of duty,

or malfeasance in office   Id. § 1202(d). Certain appointed members of the FDIC and all members

of the FRB and NCUA enjoy for-cause removal protection. See 12 U.S.C. § 1812(c)(1); id. § 242

(FRB); id. § 1752a(c) (NCUA). The FDIC, FRB, and NCUA, as well as the OCC, must all agree

to refer an ALJ to the MSPB.

      105.     Given OFIA

sufficiently important to executing the laws that the Constitution requires that the President be able

                                             Jarkesy, 34 F.4th at 464.

      106.     T                            at least two layers of removal protection prevents that

exercise of presidential authority and thus violates Article II of the Constitution. See Free Enter.

Fund, 561 U.S. at 492-508. And given the unique structure of OFIA           the entity that houses the

ALJs FDIC uses     the removal protections are especially strong here given four different Banking

Agencies, the majority of whose members enjoy for-cause removal protection, have to agree to

refer an OFIA ALJ to the MSPB.

      107.     But for these unlawful removal restrictions, either the ALJ assigned to CBW

administrative case or the FDIC members and Banking Agencies who bear responsibility to

supervise and exercise control over the ALJ would face the prospect of removal by the President

based on their conduct during the proceedings.

      108.     Being subject to unconstitutional agency authority        including proceedings before

unconstitutionally insulated agency officials                         -and-                           -




                                                 20
   Case 2:24-cv-02535-DDC-BGS              Document 1        Filed 11/19/24      Page 21 of 24




settled precedent. Axon Enter., 143 S. Ct. at 903 (citation omitted); see also, e.g., Cochran v. SEC,

20 F.4th 194, 210 n.16, 212 13 (5th Cir. 2021) (en banc),            and remanded sub nom. Axon

Enter., 143 S. Ct. 890.

      109.     This injury exists even if a President does not actively desire to remove a particular

ALJ, given the potential for removal influences how rational ALJs carry out their duties. After all,

Congress sought to make OFIA ALJs politically independent for a reason: it wanted to insulate

them from political pressures. See, e.g., Lucia, 585 U.S. at 260 (Breyer, J., concurring in the

judgment in part and dissenting in part). A showing of particularized cause and effect is not

necessary to declare that such insulation from Presidential oversight is unconstitutional.

      110.     Moreover, the Supreme Court has explained that the key focus is on whether the

unconstitutional provision caused harm to the party challenging constitutionality. See Collins, 594



      111.     Here simply being made to participate in the unconstitutional hearing causes CBW

irreparable harm.

      112.     Moreover, through the unconstitutional proceedings, FDIC seeks to impose civil

monetary penalties in an amount it is aware

and harm its reputation.

      113.     Accordingly, CBW

[administrative] standards to which [CBW is] subject will be enforced only by a constitutional

                                        Free Enter. Fund, 561 U.S. at 513.

      114.     Moreover, without relief from this Court, CBW will be required to undergo an

unconstitutional proceeding before an insufficiently accountable agency official.




                                                 21
   Case 2:24-cv-02535-DDC-BGS               Document 1        Filed 11/19/24      Page 22 of 24




      115.     Unless the FDIC is enjoined from proceeding against CBW before an ALJ

unconstitutionally insulated from presidential oversight, at least until the defect is remedied, CBW

will be irreparably harmed.

      116.     Further, if the FDIC members, on recommendation from the ALJ, issue a final order

against CBW, the constitutional injury will likely be irremediable. The Supreme Court has stated

that those subject to an unconstitutional proceeding by improperly insulated administrative agency

officials often have no retrospective redress after the fact. See Collins, 141 S. Ct. at 1787 89.

      117.     The harm to CBW, in the event declaratory and injunctive relief is not granted, far

outweighs any harm, or mere inconvenience, to the FDIC if such relief is granted.

      118.    The grant of injunctive and declaratory relief on this claim will serve the public



                                     PRAYER FOR RELIEF

       WHEREFORE, CBW hereby requests that the Court order the following relief and enter

a judgment:

       1.      Declaring that:

               a.      The statutes, regulatory provisions, guidance, and/or policies restricting the

                       removal of OFIA ALJs, including [], are unconstitutional;

               c.      The FDIC proceedings against CBW deprive it of its constitutional right to

                       trial by jury in an Article III court; and

       2.      Preliminarily enjoining Defendants from subjecting CBW to an unconstitutional

administrative proceeding without an Article III jury pending the final resolution of this action;

       3.      Permanently enjoining Defendants from implementing or carrying out the

unconstitutional removal-protection provisions identified above in this action;




                                                  22
   Case 2:24-cv-02535-DDC-BGS               Document 1    Filed 11/19/24     Page 23 of 24




       4.      Permanently enjoining the FDIC Defendants from adjudicating allegations relating

to the same underlying set of events as any action against CBW that they authorize unless

adjudicated in an Article III court with a jury;

       5.      Awarding CBW its costs and expenses incurred in bringing this action, including,

                                              ; and

       6.      Awarding such other and further relief, whether at law or in equity, as the Court

deems just and proper.




                                                   23
   Case 2:24-cv-02535-DDC-BGS   Document 1     Filed 11/19/24     Page 24 of 24




Dated: November 19, 2024    Respectfully submitted,

                            BERKOWITZ OLIVER LLP

                            /s/ Anthony J. Durone
                            Anthony J. Durone (KS Bar # 17492)
                            Carson M. Hinderks (KS Bar # 25079)
                            2600 Grand Boulevard, Suite 1200
                            Kansas City, MO 64108
                            Telephone: 816.561.7007
                            Fax: 816.561.1888
                            adurone@berkowitzoliver.com
                            chinderks@berkowitzoliver.com

                            MORGAN LEWIS & BOCKIUS LLP

                            Allen H. Denson (pro hac vice forthcoming)
                            D.C. Bar No.: 999210
                            1111 Pennsylvania Avenue, N.W.
                            Washington, DC 20004-2541
                            allen.denson@morganlewis.com
                            Tel: (202) 739-3000
                            Fax: (202) 739-3001

                            Daniel B. Tehrani (pro hac vice forthcoming)
                            N.Y. Bar No.: 4422945
                            101 Park Ave
                            New York, NY 10178-0060
                            daniel.tehrani@morganlewis.com
                            Tel: (212) 309-6150
                            Fax: (212) 309-6001

                            Catherine L. Eschbach (pro hac vice forthcoming)
                            TX Bar No.: 24097665
                            1000 Louisiana Street, Suite 4000
                            Houston, TX 77002-5006
                            catherine.eschbach@morganlewis.com
                            Tel: (713) 890-5719
                            Fax: (713) 890-5001

                            Attorneys for CBW Bank




                                    24
